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IN THE UNITED sTATEs msch CoURT 05,,.4 _
FoR THE WESTERN DISTRICT oF TENNESSEE f'gg - 05
EASTERN DIvISIoN p '
UNITED srATEs oF AMERJCA, f 34
Plaintiff, , 1
vs. No.04-10061-r »/t/
GARY WAYNE GUEsr,
LoRi ANN BUCKINGHAM,
PATRICK PEARsoN,
rrNA PEARsoN, and
TRAvis LYNN MccoY,
Defendants.

ORDER CONTINU[NG REPORT DATEa
TRIAL AND EXCLUDING DELAY

The government has moved for a continuance of the report date in this case which is set for
May 24, 2005, and the trial which is currently set on June 6, 2005. Since counsel for the
government is scheduled to attend a Federal Prosecution course out of town, that motion is hereby
granted Counsel for defendant Lori Ann Buckingham has also requested a continuance of the report
date and trial because additional time to prepare is necessaryl Therefore, both motions are granted
and the trial of this action is continued and has been reset for June 27, 2005.

The court finds that the unavailability of the government’s counsel and the government’s
need for continuity of counsel justify this continuance and the ends of justice served by the
continuance outweigh the best interests of the public and the defendant in a speedy trial. In addition,
defendant Buckingham’s need for additional time to prepare justifies this continuance and the ends
of justice served by the continuance outweigh the best interests of the public and the defendant in a
speedy trial. Accordinalv. the trial is continued from June 6. 2005. to June 27. 2005. at 9:30 A.M
The resulting period of delay, from June 6, 2005, to June 27, 2005, is excluded pursuant to 18
U.S.C. § 3161(h)(8)(A). A new report date has been set for June 6, 2005, at 9:00 a.m.

A.M

J S D. TODD
TED STATES DISTRICT JUDGE

350/lag 2005

DATE

I'I` IS SO ORDER.ED.

 

This document entered on the docket s ln compliance
with nme 55 and/or aa(b) Fnch on _SPQJ_Q§_

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 145 in
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Honorable J ames Todd
US DISTRICT COURT

